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 8                           UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10    MIGUEL ESPARZA, individually and on              Case No.: 23cv0102 DMS(KSC)
11    behalf of all others similarly situated,
                                                       ORDER GRANTING DEFENDANT’S
12                                    Plaintiff,       MOTION TO DISMISS
13    v.
      UAG ESCONDIDO A1 INC., a Delaware
14
      corporation, dba
15    ACURAOFESCONDIDO.COM, and
      DOES 1 through 10, inclusive
16
                                    Defendants.
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18
19         This case comes before the Court on Defendant’s motion to dismiss Plaintiff’s
20   Complaint. Plaintiff filed an opposition to the motion, and Defendant filed a reply.
21         As alleged in the Complaint, sometime between November 2021 and November
22   2022, Plaintiff Miguel Esparza used his smart phone to visit Defendant’s website
23   acuraofescondido.com. Through the website’s chat feature, Plaintiff had a conversation
24   with Defendant UAG Escondido A1 Inc. (Compl. ¶18.) Plaintiff alleges he:
25         is a consumer privacy advocate with dual motivations for initiating a
           conversation with Defendant. First, Plaintiff was genuinely interested in
26         learning more about the goods and services offered by Defendant. Second,
27         Plaintiff is a “tester” who works to ensure that companies abide by the privacy
           obligations imposed by California law.
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 1   (Id. ¶16.)1 Plaintiff alleges Defendant “was secretly recording their conversations or
 2   allowing, aiding, and abetting a third party to intercept and eavesdrop on them in real
 3   time.” (Id. ¶20.) Indeed, Plaintiff alleges Defendant “secretly wiretaps the private
 4   conversations of everyone who communicates through the chat feature at
 5   www.acuraofescondido.com” and “allows at least one third party to eavesdrop on such
 6   communications in real time and during transmission to harvest data for financial gain.”
 7   (Id. at 2.) Plaintiff alleges that to enable the wiretapping,
 8         Defendant has covertly embedded software code that functions as a device
           and contrivance into its website that automatically intercepts, records and
 9
           creates transcripts of all conversations using the website chat feature. To
10         enable the eavesdropping, Defendant allows at least one independent third-
           party vendor to use a software device or contrivance to secretly intercept
11
           (during transmission and in real time), eavesdrop upon, and store transcripts
12         of Defendant’s chat communications with unsuspecting website visitors –
           even when such conversations are private and deeply personal. The data from
13
           those transcripts are then used for targeted marketing or other purposes.
14
15   (Id. ¶12.)
16         As a result of Plaintiff’s experience with Defendant’s website, and Defendant’s
17   alleged practices with regard to other visitors to Defendant’s website, Plaintiff,
18   individually and on behalf of all others similarly situation, filed the present case against
19   Defendant in San Diego Superior Court. In the Complaint, Plaintiff alleges two claims
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22   1
       A search of the Court’s CM/ECF system reveals that Plaintiff and his counsel had five
23   other cases in this Court, either filed here or removed from state court, raising similar
     factual allegations and legal claims: Esparza v. Dickey’s BBQ Pit Inc., Case No. 22cv1502
24   DMS (BGS), Esparza v. Minted, LLC, 22cv1560 TWR (KSC), Case No. 22cv1560 TWR
25   (KSC), Esparza v. Crocs, Inc., Case No. 22cv1842 JO (MDD), Esparza v. FanDuel Inc.,
     Case No. 22cv1852 BEN (JLB), and Esparza v. Concentrix Corp., Case No. 22cv1994
26   DMS (KSC). Plaintiff dismissed the Minted case after the Court issued an order to show
27   cause re: subject matter jurisdiction, dismissed the FanDuel case after full briefing on the
     defendant’s motion to dismiss, and dismissed the Concentrix case and the Dickey’s case.
28   The Crocs case was settled and also dismissed.
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 1   under California’s Invasion of Privacy Act (“CIPA”), one for violation of California Penal
 2   Code § 631 and one for violation of California Penal Code § 632.7. On January 19, 2023,
 3   Defendant removed the case to this Court pursuant to the Class Action Fairness Act
 4   (“CAFA”). The present motion followed.
 5         The present motion is not unlike the motion to dismiss filed in Garcia v. Build.com,
 6   Inc., Case No. 22cv1985 DMS (KSC). That case involved different parties, but the
 7   complaint in that case is otherwise identical to the Complaint in the present case, and
 8   Plaintiff’s counsel in both cases is the same. The motion in Garcia also raised many of
 9   the same issues raised in the present motion.
10         In a recent order, this Court granted the motion to dismiss in Garcia. See Garcia,
11   Case No. 22-cv-01985-DMS-KSC, 2023 WL 4535531 (S.D. Cal. July 13, 2023). Given
12   that the Complaint in this case is nearly identical to the Garcia complaint, and in light of
13   the overlap between the arguments raised in the present motion and the arguments raised
14   in Garcia, this Court incorporates the reasoning of Garcia to this case, see id. at *4-6, and
15   grants Defendant’s motion to dismiss the present case, as well. For the reasons stated in
16   Garcia, Plaintiff’s first claim alleging a violation of California Penal Code § 631 is
17   dismissed without prejudice to the extent it is based on Clause 4 of that statute. All other
18   claims are dismissed with prejudice. If Plaintiff wishes to amend his claim under Clause
19   4, he shall file a First Amended Complaint no later than August 10, 2023.
20         IT IS SO ORDERED.
21   Dated: July 27, 2023
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